Case 3:17-cv-00072-NKM-JCH Document 227-2 Filed 02/15/18 Page 1 of 2 Pageid#: 1244

                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division

  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, CHELSEA ALAVARADO,
  NATALIE ROMERO, and JOHN DOE,


                         Plaintiffs,
  v.


  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
  ALEX FIELDS, JR., VANGUARD               Civil Action No. 3:17-cv-00072-NKM
  AMERICA, ANDREW ANGLIN,
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSLEY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS,
  LEAGUE OF THE SOUTH, JEFF SCHOEP,
  NATIONAL SOCIALIST MOVEMENT,
  NATIONALIST FRONT, AUGUSTUS SOL
  INVICTUS, FRATERNAL ORDER OF THE
  ALT-KNIGHTS, MICHAEL “ENOCH”
  PEINOVICH, LOYAL WHITE KNIGHTS OF
  THE KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,


                         Defendants.




       [PROPOSED] ORDER CONCERNING THE TIMING FOR SERVICE OF DEFENDANT
                         SPENCER’S INITIAL DISCLOSURES
Case 3:17-cv-00072-NKM-JCH Document 227-2 Filed 02/15/18 Page 2 of 2 Pageid#: 1245




            Now before the Court is the Report of the Plaintiffs Pursuant to Rule 26(f) and Request

   for an Order Concerning the Timing for Service of Defendant Spencer’s Initial Disclosures.

            WHEREAS, the parties conferred pursuant to Rule 26(f) and submitted to this Court a

   Joint Report of the Parties Pursuant to Rule 26(f) (the “Rule 26(f) Report”), ECF No. 135;

            WHEREAS, Plaintiffs sent by mail the Rule 26(f) Report to Defendant Spencer with

   certain proposed modifications;

            WHEREAS, Defendant Spencer failed to respond to Plaintiffs’ letter in any manner;



            IT IS HEREBY ORDERED that:

            Defendant Spencer shall serve initial disclosures, pursuant to Rule 26(a)(1), within

   fourteen (14) days of the entry of this Order.



            IT IS FURTHER ORDERED that:

            Plaintiffs shall serve initial disclosures, pursuant to Rule 26(a)(1), within fourteen (14)

   days of the entry of this Order, but in no event before Defendant Spencer has acknowledged in

   writing the requirements and obligations of the Order for the Production of Documents and

   Exchange of Confidential Information, ECF No. 167.


   Dated:



   SO ORDERED



                                                                Hon. Joel C. Hoppe, M.J.




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